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 1                                   NOT FOR PUBLICATION
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   HKB Incorporated,                                No. CV-16-03799-PHX-DJH
10                  Plaintiff,
                                                      ORDER
11   v.
12   Board of Trustees for the Southwest
     Carpenter's Southwest Trust, et al.,
13
                    Defendants.
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15            This matter is before the Court on Henry Kent Baker, Scott William Miller, and
16   James Douglas Wilson’s (“the Employees”) Motion for Summary Judgment filed on June
17   26, 2017, with respect to the fiduciary duty claim. (Doc. 42). Defendants filed a “Notice
18   of No Opposition” to the Motion on August 22, 2017, after not objecting to the Motion
19   within the deadline period. (Doc. 46). The Notice states that “they agree the motion
20   should be granted” and “asks the Court to grant the motion.” Id.
21            Accordingly,
22            IT IS HEREBY ORDERED that the Employees’ Motion for Summary Judgment
23   (no fiduciary duty) (Doc. 42) is GRANTED.
24            Dated this 23rd day of March, 2018.
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                                                    Honorable Diane J. Humetewa
27                                                  United States District Judge
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